                                                         Case 1:18-cv-00719-CCR                                        Document 23-3                          Filed 05/28/19                             Page 1 of 1


CASE_REFERENCE
            OPEN_DT       CLOSED_DT SUBJECT                       REASON   TYPE                                dbo_FLODS_CASE_ENQUIRY_D00_TITLE   OBJECT_DESCRIPTION                                                   ADDRESS_NUMBER   property_ADDRESS_LINE_1
                                                                                                                                                                                                                                                  property_ADDRESS_LINE_2
                                                                                                                                                                                                                                                            property_ZIP_CODE
 1000522611     4/23/2016 4/26/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             BPD Police Issue                   130 JONES, Buffalo, NY, 14206                                        130              JONES               14206
1000522626      4/23/2016 4/26/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             Request for police services        26 HAYDEN, Buffalo, NY, 14210                                        26               HAYDEN              14210
1000522629      4/24/2016 4/26/2016 Buffalo Police Department     Police   Quality of Life Issue (Req_Serv)    BPD Quality of Life Issue          FARGO, Buffalo, NY
1000522630      4/24/2016 4/26/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             Request for police services        133 KENEFICK, Buffalo, NY, 14220                                     133              KENEFICK                14220
1000522633      4/24/2016 4/26/2016 Buffalo Police Department     Police   Quality of Life Issue (Req_Serv)    BPD Quality of Life Issue          115 LONGNECKER, Buffalo, NY, 14206                                   115              LONGNECKER              14206
1000522649      4/25/2016 4/26/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             BPD Police Issue                   Intersection of Manhattan Ave and Bennett Village Ter, Buffalo, NY   INTERSECTION     Manhattan Bennett
                                                                                                                                                                                                                                                   Ave      Village Ter
1000522650      4/25/2016 4/26/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             BPD Police Issue                   451 SWEET, Buffalo, NY, 14211                                        451              SWEET                   14211
1000522694      4/25/2016 4/26/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             BPD Police Issue                   152 JERSEY, Buffalo, NY, 14201                                       152              JERSEY                  14201
1000522747      4/25/2016 4/26/2016 Buffalo Police Department     Police   Quality of Life Issue (Req_Serv)    BPD Quality of Life Issue          841 WEST, Buffalo, NY, 14213                                         841              WEST                    14213
1000522789      4/25/2016 4/26/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             Request for police services        Intersection of Abbott Rd and Hubbell Ave, Buffalo, NY               INTERSECTION     Abbott Rd Hubbell Ave
1000522826      4/25/2016 4/26/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             BPD Police Issue                   51 SCHUTRUM, Buffalo, NY, 14212                                      51               SCHUTRUM                14212
1000522891      4/25/2016 4/26/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             BPD Police Issue                   Intersection of Clinton St and Cliff St, Buffalo, NY                 INTERSECTION     Clinton St Cliff St
1000522896      4/25/2016 4/26/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             BPD Police Issue                   DAKOTA, Buffalo, NY
1000522957      4/25/2016 4/26/2016 Buffalo Police Department     Police   Quality of Life Issue (Req_Serv)    BPD Quality of Life Issue          144 DOWNING, Buffalo, NY, 14220                                      144              DOWNING                14220
1000522958      4/25/2016 4/26/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             BPD Police Issue                   118 WAKEFIELD, Buffalo, NY, 14214                                    118              WAKEFIELD              14214
1000522965      4/25/2016 4/26/2016 Buffalo Police Department     Police   Quality of Life Issue (Req_Serv)    BPD Quality of Life Issue          83 GROVE, Buffalo, NY, 14207                                         83               GROVE                  14207
1000522968      4/25/2016 4/26/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             Request for police services        70 GROVE, Buffalo, NY, 14207                                         70               GROVE                  14207
1000522978      4/25/2016    2/1/2017 Buffalo Police Department   BPD      BPD Employee Issues (Req_Serv)      BPD Employee Issue                 95 MONTANA, Buffalo, NY, 14211                                       95               MONTANA                14211
1000523000      4/26/2016 4/26/2016 Buffalo Police Department     Police   Quality of Life Issue (Req_Serv)    BPD Quality of Life Issue          56 BENZINGER, Buffalo, NY, 14206                                     56               BENZINGER              14206
1000523106      4/26/2016 4/26/2016 Buffalo Police Department     Police   Quality of Life Issue (Req_Serv)    BPD Quality of Life Issue          WEISS, Buffalo, NY
1000523150      4/26/2016 4/26/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             Request for police services        130 COURTLAND, Buffalo, NY, 14215                                    130              COURTLAND              14215
1000523159      4/26/2016 4/26/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             BPD Police Issue                   109 GOETHE, Buffalo, NY, 14206                                       109              GOETHE                 14206
1000523165      4/26/2016 4/26/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             BPD Police Issue                   159 HEWITT, Buffalo, NY, 14215                                       159              HEWITT                 14215
1000523170      4/26/2016 4/26/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             Request for police services        109 GOETHE, Buffalo, NY, 14206                                       109              GOETHE                 14206
1000523175      4/26/2016 4/26/2016 Buffalo Police Department     Police   Quality of Life Issue (Req_Serv)    BPD Quality of Life Issue          105 DUNLOP, Buffalo, NY, 14215                                       105              DUNLOP                 14215
1000523176      4/26/2016 4/26/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             Request for police services        109 GOETHE, Buffalo, NY, 14206                                       109              GOETHE                 14206
1000523178      4/26/2016 4/26/2016 Buffalo Police Department     Police   Quality of Life Issue (Req_Serv)    BPD Quality of Life Issue          SOUTH PARK, Buffalo, NY
1000523199      4/26/2016 4/28/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             BPD Police Issue                   59 GREENE, Buffalo, NY, 14206                                        59               GREENE                14206
1000523211      4/26/2016 4/28/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             BPD Police Issue                   Intersection of Kenmore Ave and Main St, Buffalo, NY                 INTERSECTION     Kenmore AveMain St
1000523277      4/27/2016 4/28/2016 Buffalo Police Department     Police   Quality of Life Issue (Req_Serv)    BPD Quality of Life Issue          Intersection of Genesee St and Moselle St, Buffalo, NY               INTERSECTION     Genesee St Moselle St
1000523320      4/27/2016 4/28/2016 Buffalo Police Department     Police   Quality of Life Issue (Req_Serv)    BPD Quality of Life Issue          251 LORING, Buffalo, NY, 14214                                       251              LORING                14214
1000523321      4/27/2016 4/27/2016 Buffalo Police Department     Police   Quality of Life Issue (Req_Serv)    BPD Quality of Life Issue          Intersection of Goethe St and Ludington St, Buffalo, NY              INTERSECTION     Goethe St Ludington St
1000523355      4/27/2016 4/28/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             Request for police services        GODFREY, Buffalo, NY
1000523369      4/27/2016 4/28/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             BPD Police Issue                   31 VICTORIA, Buffalo, NY, 14214                                      31               VICTORIA              14214
1000523378      4/27/2016 4/28/2016 Buffalo Police Department     Police   Quality of Life Issue (Req_Serv)    BPD Quality of Life Issue          251 LORING, Buffalo, NY, 14214                                       251              LORING                14214
1000523396      4/27/2016 4/28/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             Request for police services        509 STARIN, Buffalo, NY, 14216                                       509              STARIN                14216
1000523417      4/27/2016 4/28/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             BPD Police Issue                   4 ROANOKE, Buffalo, NY, 14210                                        4                ROANOKE               14210
1000523429      4/27/2016 4/27/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             Request for police services        165 MACKINAW, Buffalo, NY, 14204                                     165              MACKINAW              14204
1000523495      4/27/2016 4/28/2016 Buffalo Police Department     Police   Basketball Hoop in RoW (Req_Serv)   BPD BasketballHoop_RoW             31 WOODSIDE, Buffalo, NY, 14220                                      31               WOODSIDE              14220
1000523512      4/27/2016 4/28/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             BPD Police Issue                   Intersection of Southside Pkwy and Mesmer Ave, Buffalo, NY           INTERSECTION     Southside Pkwy
                                                                                                                                                                                                                                                   Mesmer Ave
1000523519      4/27/2016 4/28/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             BPD Police Issue                   575 ELMWOOD, Buffalo, NY, 14222                                      575              ELMWOOD               14222
1000523550      4/27/2016 4/28/2016 Buffalo Police Department     Police   Quality of Life Issue (Req_Serv)    BPD Quality of Life Issue          105 DUNLOP, Buffalo, NY, 14215                                       105              DUNLOP                14215
1000523552      4/27/2016 4/28/2016 Buffalo Police Department     Police   Quality of Life Issue (Req_Serv)    BPD Quality of Life Issue          58 RYAN SOUTH, Buffalo, NY, 14210                                    58               RYAN SOUTH            14210
1000523561      4/28/2016 4/28/2016 Buffalo Police Department     Police   Quality of Life Issue (Req_Serv)    BPD Quality of Life Issue          64 WOOD, Buffalo, NY, 14211                                          64               WOOD                  14211
1000523609      4/28/2016 4/28/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             Request for police services        Intersection of McKinley Pkwy and Lakewood Ave, Buffalo, NY          INTERSECTION     McKinley Pkwy
                                                                                                                                                                                                                                                   Lakewood Ave
1000523610      4/28/2016 4/28/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             Request for police services        40 WOODSIDE WEST, Buffalo, NY, 14220                                 40               WOODSIDE WEST         14220
1000523612      4/28/2016 4/28/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             Request for police services        Intersection of McKinley Pkwy and Tifft St, Buffalo, NY              INTERSECTION     McKinley Pkwy
                                                                                                                                                                                                                                                   Tifft St
1000523626      4/28/2016 4/28/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             BPD Police Issue                   60 BRISCOE, Buffalo, NY, 14211                                       60               BRISCOE               14211
1000523633      4/28/2016 4/28/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             BPD Police Issue                   850 WEST, Buffalo, NY, 14213                                         850              WEST                  14213
1000523635      4/28/2016 4/28/2016 Buffalo Police Department     Police   Quality of Life Issue (Req_Serv)    BPD Quality of Life Issue          27 OKELL, Buffalo, NY, 14220                                         27               OKELL                 14220
1000523702      4/28/2016 4/28/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             BPD Police Issue                   850 WEST, Buffalo, NY, 14213                                         850              WEST                  14213
1000523766      4/28/2016 4/28/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             BPD Police Issue                   Intersection of Auburn Ave and Hoyt St, Buffalo, NY                  INTERSECTION     Auburn AveHoyt St
1000523768      4/28/2016 4/28/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             BPD Police Issue                   337 FOX, Buffalo, NY, 14211                                          337              FOX                   14211
1000523771      4/28/2016 4/28/2016 Buffalo Police Department     Police   Quality of Life Issue (Req_Serv)    BPD Quality of Life Issue          862 GENESEE, Buffalo, NY, 14211                                      862              GENESEE               14211
1000523801      4/28/2016 4/29/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             Request for police services        Intersection of Heussy Ave and Abbott Rd, Buffalo, NY                INTERSECTION     Heussy AveAbbott Rd
1000523812      4/28/2016 4/29/2016 Buffalo Police Department     Police   Quality of Life Issue (Req_Serv)    BPD Quality of Life Issue          Intersection of Michigan Ave and William St, Buffalo, NY             INTERSECTION     Michigan Ave
                                                                                                                                                                                                                                                   William St
1000523843      4/29/2016 4/29/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             BPD Police Issue                   108 GROTE, Buffalo, NY, 14207                                        108              GROTE                 14207
1000523859      4/29/2016 4/29/2016 Buffalo Police Department     Police   Quality of Life Issue (Req_Serv)    BPD Quality of Life Issue          1094 ELMWOOD, Buffalo, NY, 14222                                     1094             ELMWOOD               14222
1000523903      4/29/2016 4/29/2016 Buffalo Police Department     Police   Quality of Life Issue (Req_Serv)    BPD Quality of Life Issue          318 LISBON, Buffalo, NY, 14215                                       318              LISBON                14215
1000523916      4/29/2016 4/29/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             BPD Police Issue                   34 GROVE, Buffalo, NY, 14207                                         34               GROVE                 14207
1000523935      4/29/2016 4/29/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             BPD Police Issue                   574 STOCKBRIDGE, Buffalo, NY, 14215                                  574              STOCKBRIDGE           14215
1000523966      4/29/2016 4/29/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             BPD Police Issue                   82 CALIFORNIA, Buffalo, NY, 14213                                    82               CALIFORNIA            14213
1000523970      4/29/2016 4/29/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             BPD Police Issue                   51 RYAN SOUTH, Buffalo, NY, 14210                                    51               RYAN SOUTH            14210
1000524009      4/29/2016 4/29/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             BPD Police Issue                   567 HERTEL, Buffalo, NY, 14207                                       567              HERTEL                14207
1000524012      4/29/2016 4/29/2016 Buffalo Police Department     Police   Police Issue (Req_Serv)             BPD Police Issue                   557 HERTEL, Buffalo, NY, 14207                                       557              HERTEL                14207
1000524058      4/30/2016    5/2/2016 Buffalo Police Department   Police   Police Issue (Req_Serv)             Request for police services        52 GROTE, Buffalo, NY, 14207                                         52               GROTE                 14207
1000524067      4/30/2016    5/2/2016 Buffalo Police Department   Police   Quality of Life Issue (Req_Serv)    BPD Quality of Life Issue          558 BRECKENRIDGE, Buffalo, NY, 14222                                 558              BRECKENRIDGE          14222
1000524069      4/30/2016    5/2/2016 Buffalo Police Department   Police   Quality of Life Issue (Req_Serv)    BPD Quality of Life Issue          34 MILFORD, Buffalo, NY, 14220                                       34               MILFORD               14220
1000524082       5/1/2016    5/2/2016 Buffalo Police Department   Police   Police Issue (Req_Serv)             Request for police services        DELAVAN EAST, Buffalo, NY
1000524083       5/1/2016    5/2/2016 Buffalo Police Department   Police   Police Issue (Req_Serv)             Request for police services        24 BICKFORD, Buffalo, NY, 14215                                      24               BICKFORD               14215
1000524084       5/1/2016    5/2/2016 Buffalo Police Department   Police   Police Issue (Req_Serv)             Request for police services        3 HUMASON, Buffalo, NY, 14211                                        3                HUMASON                14211
1000524098       5/1/2016    5/2/2016 Buffalo Police Department   Police   Quality of Life Issue (Req_Serv)    BPD Quality of Life Issue          25 GRACE, Buffalo, NY, 14207                                         25               GRACE                  14207
